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  (12) United States Patent                                                                       (10) Patent No.:                    US 7.956,581 B2
         LiTingTun                                                                                (45) Date of Patent:                               Jun. 7, 2011
  (54) RECHARGEABLE BATTERY PACK                                                              2003/0107347 A1           6/2003 Yoshizawa et al.
                                                                                              2003/0132732 A1*          7/2003 Thomas et al. ............... 320,134
                                  Fre                                                         2004/O1892.59 A1*         9, 2004 Miura et al. ...                ... 320,134
  (75) Inventor: Siong LiTingTun, Kitchener (CA)                                              2004/0212350 A1* 10, 2004 Patino et al. ...                       ... 320,134
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  (73) Assignee: Research In Motion Limited, Waterloo,                                        3.39. A. 38 St.l                                                      38.5
                        Ontario (CA)                                                          2005. O156574 A1*         7, 2005 Sato et al. ..................... 320,134
                                                                                              2006/0001404 A1           1/2006 Ziegler et al.
  (*) Notice:           Subject to any disclaimer, the term of this                           3.s: A. :                 258.       E.    al . . . . . . . . . . . . . . 3. 1.
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                        past is:listed under 35                                               2006/0164041 A1* 7/2006 Ooshita et al. ................ 320,150
                          .S.C. 154(b) by 427 days.                                           2006, O164042 A1          7, 2006 Sim
  (21) Appl. No.: 11/972,214                                                                             FOREIGN PATENT DOCUMENTS
                                                                                             EP              1551 088 A              7/2005
  (22) Filed:           Jan. 10, 2008                                                        EP              1758 226 A1            2, 2007
                                                                                             EP              1868.274 A            12/2007
  (65)                Prior Publication Data                                                 * cited by examiner
          US 2009/O1796.18A1     Jul. 16, 2009
                                                                                             Primary Examiner — Edward Tso
  (51) Int. Cl.                                                                              Assistant Examiner — Alexis Boateng
       H02. 7/00                        (2006.01)                                            (74) Attorney, Agent, or Firm — Louis D. Allard; Borden
          H02. 7/04                     (2006.01)                                            Ladner Gervais LLP
  (52) U.S. Cl. ........ 320/134; 320/136; 320/135; 320/150;
                                                                           32O/149           (57)                        ABSTRACT
  (58) Field of Classification Search .................. 320/134,                            A battery pack comprising a power cell for providing power
                 32Of 136. 135,137, 150, 151, 152, 153154
                          s s 320,156 s 2 128 148                                            to a load or for receiving a charge from a charger, a first
          S         lication file f       let s hhi t s                                      protection circuit for protecting from overvoltage and/or
              ee appl1cauon Ille Ior complete searcn n1Story.                                overcurrent conditions, and a second protection circuit for
  (56)                    References Cited                                                   protecting from overtemperature conditions. The protection
                                                                                             circuits independently control one or more electronic Switch
                    U.S. PATENT DOCUMENTS                                                    ing devices, through which passes Substantially all of the
         5.625.273 A       4/1997. Fehling etal                                              current supplied by the power cell. When overvoltage and/or
         5731686 A         3, 1998 Es                                                        overcurrent conditions exist, the first protection circuit causes
         5.96309 A         10, 1999 Cheon                                                    at least one of the Switching devices to move to a non-con
         6,388,426 B1       5/2002 Yokoo et al.                                              ducting condition. Similarly, when an overtemperature con
         6,577,105 B1 ck 6/2003 Iwaizono                                                     dition exists, the second protection circuit causes at least one
         $39. R            1 3.           it al. . . . . . . . . . . . . . . . . . 320,134   of the Switching devices to move to a non-conducting condi
   2001/0021092 A1* 9/2001 Astala. 361/90                                                    tion.
   2002.0005709 A1          1/2002 Nagai et al.
   2002/0079866 A1*         6/2002 Odaohhara ................... 320,150                                    25 Claims, 4 Drawing Sheets



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                                                                                                                                             68
                                    OVERVOLTAGE / OVERCURRENT                                                ELECTRONIC
                                             PROTECTION CIRCUIT
                                                                                                               SWITCH


                                                                                     THERMAL PROTECTION
                                                                                           CIRCUIT
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                   CONTROL
                    IC CHIP




                                      HIC. 1
                                  PRIOR ART




                                      FIG.2
                                  PRIOR ART
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       60

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                | OVERVOLTAGE / OVERCURRENT
                      PROTECTION CIRCUIT                        ELECTRONIC
                                                                  SWITCH

                                           THERMAL PROTECTION
                                                 CIRCUIT

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      so
                 OVERNOLAGE / OVERCURRENT                       ELECTRONIC
                     PROTECTION CIRCUIT                          SWITCH                  68

                                                                ELECTRONIC
                                                                  SWITCH




                                                                     -We
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                                 THERMAL PROTECTION
                                       CIRCUIT
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                          100

             CONTROL   CHARGE CONTROL

                       DISCHARGE CONTROL


                                                    V         V
                                              130

                                                        125




                        140
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                                                        US 7,956,581 B2
                                 1.                                                                    2
            RECHARGEABLE BATTERY PACK                                  rechargeable battery pack 5. In particular, the equivalent cir
                                                                       cuit includes a resistor 50 that represents the resistance of the
                          BACKGROUND                                   cell 15, a resistor 55 that represents the resistance of the
                                                                       thermal protector 20, resistors 56 and 57 that represent the
     1. Technical Field                                                resistance of the electronic switching devices 35 and 40, and
     The embodiments described herein relate generally to a resistor 58 that represents the resistance of the connectors
  rechargeable battery packs, and in particular to a method of and other conductors in the circuit path to the load 10 (which
  reducing the equivalent series resistance (ESR) of a recharge is represented by the resistor 59).
  able battery pack, Such as a Li-Ion battery pack, without               Since, as described above, ESR is one of the main param
  sacrificing safety.                                               10
                                                                       eters determining the usable energy in a rechargeable battery
     2. Description of the Related Art
     Rechargeable battery packs, such as Li-Ion battery packs, pack,          it would be advantageous to be able to reduce the ESR
  are commonly used in many consumer electronics such as cell adversely affect thebattery
                                                                       of  a rechargeable
                                                                                             safety
                                                                                                    pack in a manner that does not
                                                                                                    of the rechargeable battery pack.
  phones and personal digital assistants (PDAs). FIG. 1 is a
  schematic diagram of a prior art rechargeable battery pack 5. 15             BRIEF DESCRIPTION OF THE DRAWINGS
  Such as a Li-Ion battery pack, that may be used to provide
  power to a passive load 10, such as a cell phone or a PDA. In
  Some implementations, the passive load 10 is Supplanted by              A full understanding of the invention can be gained from
  an active element Such as a battery charger, which can the following Detailed Description when read in conjunction
  recharge the rechargeable battery pack 5. As seen in FIG. 1, with the accompanying drawings, in which:
  the rechargeable battery pack 5 includes a power cell 15, such          FIG. 1 is a schematic diagram of a prior art rechargeable
  as a Li-Ion cell, athermal protector 20 and a protection circuit battery pack, Such as a Li-Ion battery pack, that may be used
  module (PCM) 25 driving the load 10. The PCM 25 includes to provide power to a load, such as a cell phone or a PDA:
  an integrated circuit control chip 30 operatively coupled to            FIG. 2 is a schematic diagram of an equivalent conceptual
  one or more electronic switching devices 35 and 40, which in 25 circuit of the rechargeable battery pack shown in FIG. 1;
  FIG. 1 are modeled as MOSFETs. As is known in the art, the              FIG. 3 is a schematic diagram of a rechargeable battery
  PCM 25 is essentially a switch that detects abnormal currents pack;
  and/or voltages and disconnects the cell 15 from the load 10.           FIG. 4 is a schematic diagram of an alternate embodiment
  or, alternatively, a charger if the rechargeable battery pack 5 is of a rechargeable battery pack;
  being charged. The thermal protector 20 provides protection 30 FIG. 5 is a schematic diagram of a rechargeable battery
  for the rechargeable battery pack 5 from overtemperature pack showing a Switching configuration in more detail.
  conditions. Overtemperature conditions can have any of sev              FIG. 6 is a schematic diagram of a rechargeable battery
  eral causes or combinations of causes. Overtemperature con pack showing in further detail one embodiment of the
  ditions can damage or impair electronic components such as rechargeable battery pack;
  those in the load 10. In the event of an overtemperature 35 FIG. 7 is a schematic illustration of an equivalent concep
  condition, it may be desirable to substantially reduce current, tual circuit for the rechargeable battery pack shown in FIG. 6.
  and thereby substantially reduce delivered power, to the load
  10, thereby reducing the risk of damage or impairment. The                            DETAILED DESCRIPTION
  thermal protector 20 may be, for example, a thermal fuse, a
  thermal breaker or a positive temperature coefficient (PTC) 40 FIG. 3 is a schematic diagram of a rechargeable battery
  thermistor. Thermal protector 20 may also be either non pack 60 according to one aspect of the disclosed embodi
  resettable or resettable. Non-resettable thermal protectors ments. The rechargeable battery pack 60 provides power to a
  have lower equivalent series resistance (ESR), but once load 68 (between the upper and lower power supply rails,
  tripped, a rechargeable battery pack employing the non-re denoted as +Veand-Ve) and includes a power cell 64, such as
  settable thermal protector is essentially no longer of any use. 45 one or more Li-Ion cells. (Use of the term “battery' pack is
  Resettable thermal protectors have higher ESRs, but can be not intended to indicate that more than one power cell 64 is
  tripped and reset many times.                                        necessarily employed, although in various embodiments,
     As is known in the art, ESR is one of the main parameters more than one power cell may be employed.) The recharge
  determining the usable energy stored in the cell 15, and thus able battery pack 60 further includes circuitry 61 that moni
  the usable energy stored in the rechargeable battery pack 5. 50 tors for overVoltage and/or overcurrent conditions, and ther
  Lower ESR, in general, means longer operation Such as mal protection circuitry 62 that monitors for overtemperature
  longer talk times for a cell phone. In the rechargeable battery conditions. The rechargeable battery pack 60 also includes an
  pack 5, the ESR thereof includes the internal resistance of the electronic switch 66. The electronic switch is coupled to the
  cell 15, the resistance of the thermal protector 20, the resis power cell 64 such that substantially all of the current passing
  tance of the electronic switching devices 35 and 40, and the 55 through the power cell 64 also passes through the electronic
  resistance of any connectors and other conductors in the switch 66. An arrow 69 shows the direction of positive current
  circuit path to the load 10. In other words, because the thermal flow in a loop that includes the power cell 64, the load 68 and
  protector 20 is in the circuit path coupling the cell 15 to the the electronic switch 66. When the load 68 is supplanted by a
  load 10, the thermal protector 20 adds to the ESR of the charger, the direction of positive current flow 69 in the loop is
  rechargeable battery pack 5, and the resistance of the thermal 60 reversed.
  protector 20 is not negligible. The circuit control chip 30 is          Currents flow through circuit loops that include the over
  not in the circuit path that includes the cell 15, the thermal voltage/overcurrent circuitry 61 and the thermal protection
  protector 20 and the load 10, and does not significantly con circuitry 62. These currents, however, are negligible in com
  tribute to the ESR.                                                  parison to the current in the loop that includes the power cell
     FIG. 2 is a schematic diagram of an equivalent conceptual 65 64, the load 68 and the electronic switch 66. Under normal
  circuit of the rechargeable battery pack 5 that shows each of operation, the electronic switch 66 is “ON” that is, in a
  the resistance components which add to the ESR of the conducting condition in which it can conduct current.
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     The overvoltage/overcurrent circuitry 61 and the thermal           FIG. 6 is a schematic diagram of a rechargeable battery
  protection circuitry 62 are operatively coupled to the elec pack 80. Such as a Li-Ion battery pack, according to one
  tronic switch 66 such that the overvoltage/overcurrent cir aspect of the disclosed embodiments, which has a reduced
  cuitry 61 and the thermal protection circuitry 62 can each ESR without sacrificing safety. The rechargeable battery pack
  independently cause the electronic switch 66 to assume an 5 80 provides power to a load 85 between the power supply rails
  “OFF or non-conducting condition, in which the electronic +Veand-Ve and includes a power cell 90, such as one or more
  switch 66 will not conduct current. When the electronic            Li-Ion cells, and a PCM 95. The PCM 95 includes an inte
  switch 66 is OFF, the loop that includes the power cell 64, the grated circuit control chip 100 operatively coupled to elec
  load 68 and the electronic switch 66 is effectively made open, tronic6switching       devices 105 and 110, which are modeled in
  thereby preventing the power cell 64 from Supplying current 10 FIG.       as MOSFETs but which may comprise any electronic
                                                                     Switching component or circuitry under the control of the
  to the load 68.
                                                                     integrated
     FIG. 4 is a schematic diagram similar to FIG. 3. In FIG. 4, coupled to the  circuit control chip 100. The power cell 90 is
  the overvoltage/overcurrent circuitry 61 and the thermal pro that substantially    electronic switching devices 105 and 110 such
                                                                                        all current passing through the power cell 90
  tection circuitry 62 each controls an electronic switch. The 15 also passes through the electronic switching devices 105 and
  overvoltage/overcurrent circuitry 61 controls electronic 110. When the electronic switching devices 105 and 110 are
  switch 66A and the thermal protection circuitry 62 controls ON, the electronic switching devices 105 and 110 are in a
  electronic switch 66B. The electronic switches 66A and 66B         conducting condition, and current passes through the power
  can independently be controlled to become OFF and assume cell 90. When the electronic switching devices 105 and 110
  a non-conducting condition. When either electronic Switch 20 are OFF, the electronic switching devices 105 and 110 are in
  66A or 66B is in a non-conducting condition, the power cell a non-conducting condition, and effectively no current passes
  64 is prevented from supplying current to the load 68.             through the power cell 90, thereby cutting off the power cell
     FIG. 5 is a schematic diagram of a rechargeable battery 90 as a power source for load 85.
  pack 70 according to another aspect of the disclosed embodi          As shown in FIG. 6, the power cell 90 may continue to
  ments. The rechargeable battery pack 70 provides power to a 25 deliver current to other electronic components, such as the
  load 78 between the upper and lower power supply rails +Ve PCM95, when the electronic switching devices 105 and 110
  and -Ve, and includes a power cell 74. Such as one or more are OFF. These other currents, however, are negligible in
  Li-Ion cells. The rechargeable battery pack 70 further comparison to currents passing through the load 85 under
  includes circuitry 75 that monitors for overvoltage and/or normal operating conditions. In a typical implementation,
  overcurrent conditions, and thermal protection circuitry 72 30 over ninety-nine percent of the current passing through the
  that monitors for overtemperature conditions. In operation, power cell 90 would pass through the load 85, and less than
  when the temperature within the rechargeable battery pack 70 one percent would pass through other components of
  exceeds some predetermined threshold level, one or more rechargeable battery pack 80. In other words, substantially all
  circuit elements in the thermal protection circuitry 72 will be of the current passing through the power cell 90 passes
  caused to trip, thereby triggering a change in operation of the 35 through the load 85, and substantially all of the current pass
  thermal protection circuitry 72.                                   ing through the power cell 90 also passes through the elec
     In the embodiment depicted in FIG. 5, the overvoltage/ tronic switching devices 105 and 110.
  overcurrent circuitry 75 is similar to PCM 25 in FIG. 1, and         Whether the electronic switching devices 105 and 110 are
  includes an integrated circuit control chip 73 operatively ON or OFF is under the control of integrated circuit control
  coupled to one or more electronic switching devices 76A and 40 chip 100, which is responsive to overvoltage and over current
  76B, which in FIG. 5 are modeled as MOSFETs. In the                 conditions. As discussed below, however, whether the elec
  embodiment depicted in FIG. 5, the integrated circuit control tronic switching devices 105 and 110 are OFF can also be
  chip 73 is configured to Supply a Voltage to a controlling controlled by thermal protection circuitry that is responsive to
  terminal of the electronic switching devices 76A and 76B, overtemperature conditions. Concerns about overvoltages,
  particularly, the gates of electronic switching devices 76A 45 overcurrents and overtemperature conditions are similar
  and 76B, causing the electronic switching devices 76A and whether cell 90 is supplying power during ordinary operation
  76B to be ON during normal operation. Either the integrated or consuming power during recharging (although overvoltage
  circuit control chip 73 or the thermal protection circuitry 72 is generally not a problem when the power cell 90 is coupled
  can independently cause the electronic Switching devices to a passive load 85, but overVoltage can be a concern during
  76A or 76B, or both, to turn OFF. An arrow 79 shows the 50 recharging). For simplicity, the focus below will assume that
  direction of positive current flow in a loop that includes the the cell 90 is supplying power to the passive load 85.
  power cell 74, the load 78 and the electronic switches 76A and        The rechargeable battery pack 80 further includes a ther
  76B. When either the electronic Switch 76A is OFF or the            mal protector 115 for providing overtemperature protection
  electronic switch 76B is OFF or both are OFF, the loop for the rechargeable battery pack 80. However, unlike the
  current 79 effectively goes to Zero.                             55 thermal protector 20 in the rechargeable battery pack5 shown
     In FIG. 5, the electronic switch 76A is directed to charge in FIG. 1, the thermal protector 115 is not provided in the
  control and the electronic switch 76B is directed to discharge circuit path that includes the cell 90 and the switching devices
  control. Separate electronic Switches to control discharge (in 105 and 110 for providing power to the load 85. Rather, the
  which the direction of positive current flow is in the direction thermal protector 115 is removed from that circuit path and
  shown by arrow 79) and charge (in which the direction of 60 instead is, as shown in FIG. 6, provided in a separate circuit
  positive current flow is in the direction opposite that shown by path. The thermal protector 115 may be, for example, a ther
  arrow 79) are advantageous in that some transistors are more mal fuse, a thermal breaker or a positive temperature coeffi
  effective in cutting offcurrent flow in particular directions. As cient (PTC) thermistor. Because the thermal protector 115 is
  a result, two electronic switches are better able to cut off not provided in the circuit path to the load 85, it does not add
  current flow regardless of the direction of current flow 79. 65 to the ESR of the rechargeable battery pack 80, thereby reduc
  This disclosure does not require, however, that separate elec ing the ESR as compared to the prior art rechargeable battery
  tronic Switches be provided for charge and discharge.               pack 5 shown in FIG. 1.
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     Nearly all of the current passing through the thermal pro As a result, the electronic switching device 125 turns ON,
  tector 115 passes through a resistor 120. The resistor 120 is driving the collector voltage down, close to the emitter volt
  provided to bias the electronic switching device 125 ON age. The result is that the Voltage at the collector node, to
  when the thermal protector 115 trips and the impedance of the which the cathodes of the diodes 130 and 135 are connected,
  thermal protector 115 goes from low to high. The resistor 120 is also driven low. As a result, the diodes 130 and 135 turnON
  is further sized to have a large impedance in comparison to the and conduct current. This then robs the drive of the integrated
  load 85, such that most current passing through the cell 90 circuit control chip 100 to the electronic switching devices
  will pass through the load 85, and the current flowing through 105 and 110, thereby turning them both OFF. Thus, the imple
  the thermal protector 115 will be comparatively low. In ordi mentation described herein effectively causes the control
  nary operation, the impedance of the load 85 would be in the 10 electronic switching devices 105 and 110 of the PCM 95 to
  range of a few ohms. The resistor, by comparison, might be act as temperature-dependent Switches (on top of their other
  sized in the range of tens of thousands of ohms, such as fifty
  thousand ohms. Current flowing through the load 85 is in the duties control
                                                                              in the PCM 95 as required by the integrated circuit
                                                                               chip 100). In this sense, the temperature cutoff pro
  range of several amperes, and current flowing through the
  resistor 120 is in the range of millionths of an ampere. Current 15 tection provided    by the thermal protector 115 is independent,
  flowing through the integrated circuit control chip 100 is also     meaning    that it is not under the control of any controller or
  very Small in comparison to current flowing through the load processor, and in particular not under the control of the inte
  85 under normal operating conditions. As a result, currents grated circuit control chip 100.
  flowing through other loops in rechargeable battery pack 80            In a variation of the embodiment depicted in FIG. 6, a
  are negligible in comparison to current flowing through the thermal protector 115 can be utilized that has a very high
  load 85. During recharging, currents passing through the cell impedance during normal temperature conditions, and a low
  90 may not be of the same magnitudes as in the case when the impedance during overtemperature conditions. With Such a
  cell 90 is supplying power to a passive load, but currents thermal protector 115, the electronic switching device 125
  supplied to the overvoltage/overcurrent circuitry and the ther can be eliminated and the thermal protector 115 can be
  mal protection circuitry generally remain negligible, and Sub 25 directly coupled between the lower power rail and the cath
  stantially all of the current Supplied by the charger passes odes of the diodes 130 and 135. In normal operating condi
  through the cell 90 and the electronic switching devices 105 tions, the impedance of the thermal protector 115 is high, and
  and 110.                                                            virtually no current is able to flow through the thermal pro
     The electronic switching device 125 in FIG. 6 is modeled tector 115. As a result, the diodes 130 and 135 are OFF. In
  as an NPN bi-polar junction transistor, but electronic switch 30 overtemperature conditions, however, the impedance of the
  ing device 125 can also be realized as a PNP bi-polar junction thermal protector 115 is low, effectively pulling down the
  transistor, or other transistor or combination of transistors.      cathode voltage of the diodes 130 and 135, turning them ON
  When the electronic switching device 125 turns ON, it robs and turning OFF the electronic switching devices 105 and
  the drive to the switching devices 105 and 110, and they turn 110. In this variation, the thermal protector 115 can serve both
  OFF, thereby cutting off the load 85 from the cell 90. When 35 as a temperature-sensitive element and as a Switching element
  the thermal protector 115 in ON (operating normally), the to turn ON diodes 130 and 135.
  electronic switching device 125 cannot be biased ON since              FIG. 7 is a schematic illustration of an equivalent concep
  the thermal protector 115 itself is robbing the bias from the tual circuit 140 for the rechargeable battery pack 80. The
  base of the electronic switching device 125.                        equivalent circuit 140 includes a resistor 145 that represents
     As seen in FIG. 6, the thermal protector 115 is operatively 40 the resistance of the cell 90, resistors 150 and 155 that repre
  coupled to the electronic switching devices 105 and 110 sent the resistance of the electronic switching devices 105 and
  through the electronic switching device 125 and the diodes          110, and a resistor 160 that represents the resistance of con
  130 and 135. In operation, when the temperature within the nectors and other conductors in the series path to the load 85
  rechargeable battery pack 80 exceeds some predetermined (which is represented by the resistor 165). As can be seen in
  threshold level, the thermal protector 115 will be caused to 45 FIG. 7, the circuit path that includes the cell 90 and the
  trip. When this happens, the electronic switching devices 105 electronic switching devices 105 and 110, which provide
  and 110 are caused to turn OFF (assume a non-conducting power to the load 85, does not include any resistance that is
  condition), effectively interrupting the current path from the attributable to the thermal protector 115, because any resis
  power cell 90 through the load 85. In particular, under normal tance that is attributable to the thermal protector 115 is neg
  operation, the electronic switching devices 105 and 110 are 50 ligible. As described above, nearly all current passing through
  controlled by the outputs of the integrated circuit control chip the 90 cell passes through the load 85, while a much smaller
  100 to be ON, the electronic switching device 125 is OFF, and and comparatively insignificant amount of current flows
  effectively no current flows into the collector node (where the through the thermal protector 115 and other circuit elements.
  junction of the cathodes of the two diodes 130 and 135 con             The circuit described above may realize one or more
  nect) because the collector-to-emitter connection behaves 55 advantages. Because the thermal protector 115 is not pro
  like an open circuit. This means that the two diodes 130 and vided in the circuit path that includes the cell 90 and the load
  135 are essentially out of the picture, because the diodes 130 85 and because the circuit path that includes the resistor 120
  and 135 are not conducting and behave like open circuits. The and the thermal protector 115 has a comparably higher
  electronic switching device 125 is OFF because the thermal impedance, very low currents will flow through the thermal
  protector 115 in ON (typically at a relatively low impedance). 60 protector 115. This disclosure is not limited to any particular
  As described above, thermal protector 115 robs the base drive amount of current flowing through thermal protector 115, but
  current flowing through the resistor 120, effectively bypass in general, the amount of current flowing through thermal
  ing the base of electronic switching device 125. When the protector 115 is negligible, such that thermal protector 115
  thermal protector 115 trips due to a high temperature, the has a negligible effect upon the ESR. Because very low cur
  impedance of the thermal protector 115 changes from a low 65 rents will flow through the thermal protector 115, a smaller,
  impedance to a high impedance. Current now flows through typically less expensive component can be utilized as the
  the resistor 120 to the base of electronic switching device 125. thermal protector 115.
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      In addition, in the case where the thermal protector 115 is            threshold value, said thermal protection circuit controls
  a positive temperature coefficient (PTC) thermistor, the effect            said electronic Switching device to assume a non-con
  of residual high post-trip resistance (that is often the case with         ducting condition.
  PTC thermistor) will not add to the ESR of the rechargeable             2. The rechargeable battery pack according to claim 1,
  battery pack 80. More specifically, as is known, once tripped, 5 wherein said electronic Switching device is a first electronic
  the resistance of a PTC thermistor never quite relaxes back to Switching device, and wherein said thermal protection circuit
  its original level, but rather settles at a higher level (this is the comprises:
  high post-trip resistance cited above). Thus, when a PTC                a diode, an anode of said diode being coupled to a control
  thermistor is used in the circuit path that includes a cell in a           ling terminal of said electronic Switching device; and
  rechargeable battery, as is the case in the rechargeable battery 10 a second electronic Switching device being coupled
  pack 5 of FIG. 1, the fact that post-trip resistance is increased          between a cathode of said diode and a lower power rail,
  adds to the ESR of the battery pack 5 in FIG.1. An increased               wherein said second electronic Switching device is con
  post-trip resistance in the configuration of FIG. 6, however,              figured to assume a conducting condition when a tem
  would not necessarily result in a corresponding increase in                perature within said rechargeable battery pack exceeds
  ESR.                                                             15       said threshold value.
     Thus, the rechargeable battery pack 80 provides a reduced          3. The rechargeable battery pack according to claim 2,
  ESR, and therefore increased battery time. Increased battery        wherein said second electronic Switching device comprises a
  time results in increased device usage time between charg           thermal protector element having a low impedance when said
  ings. Further, the configuration depicted in FIG. 6 protects        temperature within said rechargeable battery pack exceeds
  against overVoltage, overcurrent and overtemperture condi           said threshold value, and otherwise has a high impedance.
  tions, thereby effectively preserving the safety of the               4. The rechargeable battery pack according to claim 2,
  rechargeable battery pack 80.                                       wherein said second electronic Switching device comprises a
     While various embodiments have been described and illus          bipolar junction transistor.
  trated above, it should be understood that these are exemplary        5. The rechargeable battery pack according to claim 1,
  and are not to be considered as limiting. Additions, deletions, 25 wherein said electronic switching device is a MOSFET.
  Substitutions, and other modifications can be made without             6. The rechargeable battery pack according to claim 1,
  departing from the spirit or scope hereof. The described wherein said thermal protection circuit comprises a thermal
  devices and techniques are not limited to the particular circuit fuse.
  elements shown. In particular and without limitation, various         7. The rechargeable battery pack according to claim 1,
  transistors and Switching elements in FIG. 6 need not employ 30 wherein said thermal protection circuit comprises a positive
  the particular circuit elements shown, but may include differ temperature coefficient thermistor.
  ent transistors or switching elements. In addition, the particu       8. The rechargeable battery pack according to claim 1,
  lar circuit elements may be, but need not be, arranged as wherein said thermal protection circuit comprises a thermal
  depicted in the Figures. For example, if integrated circuit breaker.
  control chip 100 includes a housing, components of the ther 35 9. The rechargeable battery pack according to claim 1,
  mal protection circuitry, such as the thermal protector 115 or wherein said power cell is a Li-Ion cell.
  the electronic switching device 125, may be employed inside            10. A method of operating a rechargeable battery pack,
  the housing and need not be physically separate from the comprising:
  integrated circuit control chip 100.                                  employing a power cell to Supply current;
     Further, various embodiments may include elements not 40 employing an electronic Switch to conduct Substantially all
  depicted in any of the figures. For example, circuit elements             of the current passing through the power cell when the
  depicted as directly coupled may be coupled via one or more               electronic Switch is in a conducting condition, and to
  intermediate elements, such as a resistor or diode. In particu            prevent Substantially all of the current from passing
  lar and without limitation, the electronic Switching devices              through the power cell when the electronic switch is in a
  105 and 110 in FIG. 6 could be coupled via resistors to the 45            non-conducting condition;
  integrated circuit control chip 100. Accordingly, these and           employing a thermal protection circuit to monitor for an
  other embodiments are within the scope of the following                   overtemperature condition and to cause the electronic
  claims.                                                                   Switch to assume the non-conducting condition when
     What is claimed is:                                                    the overtemperature condition exists; and
     1. A rechargeable battery pack, comprising:                   50   providing a negligible current from the power cell to the
     a power cell;                                                          thermal protection circuit.
     a protection circuit module, said protection circuit module         11. The method according to claim 10, further comprising
        including a control circuit operatively coupled to an employing a first protection circuit to monitor for one or both
        electronic Switching device, said power cell and said ofan overVoltage condition and an overcurrent condition, and
        electronic Switching device being in an electrical con 55 to cause the electronic Switch to assume the non-conducting
        nection in which Substantially all of the current passing condition when at least one of the overvoltage condition and
        through said power cell passes through said electronic the overcurrent condition exists.
        switching device, wherein when one or both of an over            12. The method according to claim 11, wherein the first
        Voltage and overcurrent condition exists, said control protection circuit is further employed to cause the electronic
        circuit controls said electronic Switching device to cause 60 Switch to assume the conducting condition.
        said electronic Switching device to assume a non-con             13. The method according to claim 10, wherein an over
        ducting condition; and                                        temperature condition exists when a temperature within the
     a thermal protection circuit operatively coupled to said rechargeable battery pack exceeds a threshold value.
        electronic Switching device and said power cell, said            14. The method according to claim 10, further comprising
        thermal protection circuit receiving a negligible current 65 employing the electronic Switch, following causing the elec
        from said power cell, wherein in response to a tempera tronic Switch to assume the non-conducting condition when
        ture within said rechargeable battery pack exceeding a the overtemperature condition exists, to cause the electronic
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                                                                                                    10
   Switch to assume the conducting condition when the overtem           18. The rechargeable battery pack according to claim 16,
   perature condition no longer exists.                               wherein said second protection circuit comprises:
      15. The method according to claim 10, further comprising,         a diode, an anode of said diode being coupled to a control
   when a passive load is electrically coupled to the battery pack,        ling terminal of said second electronic Switching device;
   providing substantially all of the current from the power cell 5           and
   to the load when the electronic switch is in the conducting             a third electronic switching device being coupled between
   condition, and preventing the load from receiving Substan                  a cathode of said diode and a lower power rail, wherein
   tially all of the current from the power cell when the electronic          said third electronic Switching device is configured to
   Switch is in the non-conducting condition.                                 assume a conducting condition when a temperature
      16. A rechargeable battery pack, comprising:                   10       within said rechargeable battery pack exceeds said
      a power cell;                                                           threshold value.
      a first electronic Switching device operatively coupled to           19. The rechargeable battery pack according to claim 18,
         the power cell in which current passing through the wherein said third electronic Switching device comprises a
         power cell passes through the first electronic Switching thermal protector element having a low impedance when said
         device when first electronic switching device is in a 15 temperature within said rechargeable battery pack exceeds
         conducting condition;                                          said threshold value, and otherwise has a high impedance.
      a second electronic Switching device operatively coupled             20. The rechargeable battery pack according to claim 19,
         to the power cell in which current passing through the wherein said thermal protector element comprises a thermal
         power cell passes through the second electronic Switch fuse.
         ing device when the second electronic Switching device            21. The rechargeable battery pack according to claim 19,
         is in a conducting condition;                                  wherein said thermal protector element comprises a positive
      a first protection circuit module operatively coupled to the temperature coefficient thermistor.
         first electronic Switching device and configured to cause         22. The rechargeable battery pack according to claim 19,
         the first electronic Switching device to assume a non wherein said thermal protector element comprises a thermal
         conducting condition when one or both of an overvolt 25 breaker.
         age and overcurrent condition exists; and                         23. The rechargeable battery pack according to claim 19,
      a second protection circuit module operatively coupled to wherein said third electronic Switching device comprises a
         the second electronic Switching device and configured to bipolar junction transistor.
         cause the second electronic Switching device to assume            24. The rechargeable battery pack according to claim 16,
         a non-conducting condition when a temperature in the 30 wherein the first electronic switching device and the second
         rechargeable battery pack exceeds a threshold value.           electronic switching device is each a MOSFET.
      17. The rechargeable battery pack according to claim 16,             25. The rechargeable battery pack according to claim 16,
   wherein the first electronic switching device and the second wherein said power cell is a Li-Ion cell.
   electronic Switching device are the same electronic Switching
   device.                                                                                   k   k   k   k   k
